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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  E. JEAN CARROLL,                                       Civil Action No.: 1:20-cv-7311-LAK-JLC

                         Plaintiff,
                                                             NOTICE OF MOTION TO STAY
          v.                                                EXECUTION OF THE JUDGMENT
                                                            PENDING DISPOSITION OF THE
  DONALD J. TRUMP, in his personal capacity,                    POST-TRIAL MOTIONS

                         Defendant.


       PLEASE TAKE NOTICE that that the defendant, President Donald J. Trump, hereby

moves this Court, before the Hon. Lewis A. Kaplan, United States District Judge for the Southern

District of New York, located at 500 Pearl Street, New York, NY 10007, on a date to be set by the

Court, for entry of an order staying execution of the Judgment pending disposition of President

Trump’s forthcoming post-trial motions, pursuant to Rule 62 of the Federal Rules of Civil

Procedure, and for such other relief that the Court may deem just and proper.

       This motion is supported by the annexed memorandum of law, any arguments or evidence

presented in reply, all arguments or evidence presented at a hearing or with leave of Court, and

upon all prior proceedings, pleadings, and filings in this action.

       Respectfully submitted,

       _____________________________
       Alina Habba, Esq.                                      D. John Sauer*
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Dated: New York, New York
       February 23, 2024                                      * pro hac vice forthcoming
